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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

SYNOVUS BANK,                             )
                                          )
              Plaintiff,                  )
                                          )
       v.                                 ) CASE NO. 2:18-CV-926-WKW
                                          )
INSTITUTIONAL PHARMACY                    )
SOLUTIONS, LLC, et al.,                   )
                                          )
             Defendants.                  )

                                     ORDER

      Upon consideration of the parties’ Joint Stipulation of Dismissal Without

Prejudice (Doc. # 16), which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure, this action has been dismissed without prejudice by operation of

Rule 41, on the terms agreed to and set out by the parties. The Clerk of the Court is

DIRECTED to close this case.

      DONE this 10th day of April, 2019.

                                              /s/ W. Keith Watkins
                                       UNITED STATES DISTRICT JUDGE
